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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29094




                   Exhibit
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment




                                                               Evidence Packet P.0818
Case 2:15-cv-05346-CJC-E Document 438-58 Filed 10/09/20 Page 2 of 28 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29095




                                                       Evidence Packet P.0819
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29096




                                                       Evidence Packet P.0820
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
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                                                       Evidence Packet P.0821
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29098




                                                       Evidence Packet P.0822
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29099




                                                       Evidence Packet P.0823
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29100




                                                       Evidence Packet P.0824
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29101




                                                       Evidence Packet P.0825
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:29102




                                                       Evidence Packet P.0826
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29103




                                                        Evidence Packet P.0827
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29104




                                                        Evidence Packet P.0828
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29105




                                                        Evidence Packet P.0829
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29106




                                                        Evidence Packet P.0830
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29107




                                                        Evidence Packet P.0831
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29108




                                                        Evidence Packet P.0832
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29109




                                                        Evidence Packet P.0833
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29110




                                                        Evidence Packet P.0834
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29111




                                                        Evidence Packet P.0835
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29112




                                                        Evidence Packet P.0836
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29113




                                                        Evidence Packet P.0837
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29114




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29115




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29116




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29117




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29118




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29119




                                                        Evidence Packet P.0843
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29120




                                                        Evidence Packet P.0844
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:29121




                                                        Evidence Packet P.0845
